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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

SAN ANTONIO DIVISION
SOUTH TEXAS FRAC, LLC §
Plaintiff §
§
V. § CIVL ACTION NO. 20-cv-00678
§
PHOENIX PROCESS EQUIPMENT CO. §
Defendant '§

 

Upon consideration of the parties’ Agreed Motion for Continuance and request for

additional discovery, the Court hereby ORDERS the following:

The Court GRANTS Defendant Phoenix Process Equipment’s request to take the
depositions of Cesar Saenz and Matt King and ORDERS that Defendant Phoenix
Process Equipment, Co. may take the depositions of Cesar Saenz and Matt King on
an agreeable date and time.

The Court DENIES Defendant Phoenix Process Equipment’s request to take the
deposition of Collin McCurley.

The Court GRANTS Defendant Phoenix Process Equipment’s request to take the
deposition of David Durrett and ORDERS that Defendant Phoenix Process
Equipment; Co. may take the deposition of David Durrett on an agreeable date and
time.

The Court DENIES Defendant Phoenix Process Equipment’s request to take the
deposition of Brandon White of PropTester, Inc.

The Court GRANTS Defendant Phoenix Process Equipment’s request to continue
attempts to secure compliance of its issuance of Deposition on Written Question

and Subpoena issued to ThermalKinetics, including the issuance of Letters

Rogatory. The Court DENIES Defendant Phoenix Process Equipments requests to
depose a representative of Thermal Kinetics at this time.

The Court GRANTS Defendant Phoenix Process Equipment’s request to continue
the Court mandated inspection and collection of samples at the site of the plant at
issue, which is to be limited to one round of sample collections from the wet and
dry plant on an agreeable date and time.
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SIGNED on the ta day of October , 2021.

 

_ Henk jf. Bémporad
~ , United States Magistrate Judge

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